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                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

IN RE:
                                                    Case No. 3:17-bk-01432-JAF
CARL W. CLINE,                                      Chapter 11

             Debtor.
_______________________________/




                 AMENDED PLAN OF REORGANIZATION




Dated November 9, 2017




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                                            ARTICLE I
                                            SUMMARY

       This Plan of Reorganization (the "Plan") under chapter 11 of the Bankruptcy Code (the
"Code") proposes to pay creditors of the Debtor from future income of the Debtor derives from
rental income generated from the real property that the Debtor owns as well as other income from
the Debtor’s employment and alimony.
       This Plan provides for 29 classes of secured claims and no classes of unsecured claims.
Unsecured creditors holding allowed claims will receive distributions not less than the projected
disposable income of the Debtor to be received during the five-year period beginning on the date
that the first payment is due under the Plan. However, as the Debtor received a Chapter 7
discharge just prior to the filing of the case, the Debtor does not anticipate the payment of any
unsecured claims. This Plan also provides for the payment of administrative and priority claims
either upon the effective date of this Plan or as allowed under the Bankruptcy Code. All creditors
should refer to Articles II through VI of this Plan for information regarding the precise treatment
of their claims. A disclosure statement that provides more detailed information regarding this
Plan and the rights of creditors has been circulated with this Plan. Your rights may be affected.
You should read these papers carefully and discuss them with your attorney, if you have
one. (If you do not have an attorney, you may wish to consult one.)


                                   ARTICLE II
                     CLASSIFICATION OF CLAIMS AND INTERESTS


       2.01    Class 1. All allowed claims entitled to priority under § 507 of the Code. All
claims in Class 1 shall be paid in full by the effective date of the Plan.
       2.02    Class 2. First mortgage of Regions Bank on 320 N. 1st Street, Unit 801, Atlantic
Beach, FL 32233.
                       This Class consists of the secured claim of Regions Bank on 320 N. 1st
               Street, Unit 801, Atlantic Beach, FL 32233 by virtue of a first mortgage recorded
               in the Public Records of Duval County, Florida. The Debtor surrenders the
               holder’s interest in the collateral in full satisfaction of any claim filed by the
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              claimholder.
                      Class 2 is unimpaired by the Plan. The holder of a Class 2 claim is not
              entitled to vote to accept or reject the Plan.
       2.03   Class 3. First mortgage of Regions Bank on 8448 Boysenberry Lane,
Jacksonville, FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8448
              Boysenberry Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded
              in the Public Records of Duval County, Florida. The Debtor surrenders the
              holder’s interest in the collateral in full satisfaction of any claim filed by the
              claimholder.
                      Class 3 is unimpaired by the Plan. The holder of a Class 3 claim is not
              entitled to vote to accept or reject the Plan.
       2.04   Class 4. First mortgage of Regions Bank on 7103 Prestwick Circle N.,
Jacksonville, FL 32244.
                      This Class consists of the secured claim of Regions Bank on 7103
              Prestwick Circle N., Jacksonville, FL 32244 by virtue of a first mortgage recorded
              in the Public Records of Duval County, Florida. The Debtor surrenders the
              holder’s interest in the collateral in full satisfaction of any claim filed by the
              claimholder.
                      Class 4 is unimpaired by the Plan. The holder of a Class 4 claim is not
              entitled to vote to accept or reject the Plan.
       2.05   Class 5. First mortgage of Regions Bank on 2273 Ironstone Drive E.,
Jacksonville, FL 32246.
                      This Class consists of the secured claim of Regions Bank on 2273
              Ironstone Drive E., Jacksonville, FL 32246 by virtue of a first mortgage recorded
              in the Public Records of Duval County, Florida. The Debtor surrenders the
              holder’s interest in the collateral in full satisfaction of any claim filed by the
              claimholder.
                      Class 5 is unimpaired by the Plan. The holder of a Class 5 claim is not
              entitled to vote to accept or reject the Plan.
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         2.06   Class 6. First mortgage of Regions Bank on 3052 Cobblewood Ln. W.,
Jacksonville, FL 32225.
                        This Class consists of the secured claim of Regions Bank on 3052
                Cobblewood Ln. W., Jacksonville, FL 32225 by virtue of a first mortgage
                recorded in the Public Records of Duval County, Florida. The Debtor surrenders
                the holder’s interest in the collateral in full satisfaction of any claim filed by the
                claimholder.
                        Class 6 is unimpaired by the Plan. The holder of a Class 6 claim is not
                entitled to vote to accept or reject the Plan.
         2.07   Class 7.     First mortgage of Regions Bank on 10824 Happy Vale Road,
Jacksonville, FL 32246.
                        This Class consists of the secured claim of Regions Bank on 10824 Happy
                Vale Road, Jacksonville, FL 32246 by virtue of a first mortgage recorded in the
                Public Records of Duval County, Florida. The Debtor surrenders the holder’s
                interest in the collateral in full satisfaction of any claim filed by the claimholder.
                        Class 7 is unimpaired by the Plan. The holder of a Class 7 claim is not
                entitled to vote to accept or reject the Plan.
         2.08 Class 8. First mortgage of Regions Bank on 757 Century 21 Drive, Jacksonville, FL
32216.
                        This Class consists of the secured claim of Regions Bank on 757 Century
                21 Drive, Jacksonville, FL 32216 by virtue of a first mortgage recorded in the
                Public Records of Duval County, Florida. The Debtor will make a one-time,
                lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
                Date of the Plan. The Debtor will pay the fair market value of the property of
                $48,873.97 as a crammed down first mortgage, together with interest at the rate of
                4.5%, in equal monthly installments over a period of 360 months beginning
                December 1, 2017. The Debtor in Possession and mortgage holder shall execute
                whatever documents are necessary to effect the modification of the foregoing loan
                in the Public Records of Duval County, Florida. To the extent that the foregoing
                mortgage secures an escrowed loan, then the escrow portion of the payment shall
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              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $247.67 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 8 is impaired by the Plan. The holder of a Class 8 claim is entitled to
              vote to accept or reject the Plan. Each holder of an allowed Class 8 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.09   Class 9.    First mortgage of Regions Bank on 8360 Pineverde Lane, 8366
Pineverde Lane, 8372 Pineverde Lane, Jacksonville, FL 32244.
                     This Class consists of the secured claim of Regions Bank on 8360
              Pineverde Lane, 8366 Pineverde Lane, 8372 Pineverde Lane, Jacksonville, FL
              32244 by virtue of a first mortgage recorded in the Public Records of Duval
              County, Florida. The Debtor will make a one-time, lump-sum payment to Regions
              Bank in the amount of $2,250.00 ($750.00 per property) on the Effective Date of
              the Plan. The Debtor will pay the fair market value of the properties of
              $142,024.00 as a crammed down first mortgage, together with interest at the rate
              of 4.5%, in equal monthly installments over a period of 360 months beginning
              December 1, 2017. The Debtor in Possession and mortgage holder shall execute
              whatever documents are necessary to effect the modification of the foregoing loan
              in the Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $719.61 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 9 is impaired by the Plan. The holder of a Class 9 claim is entitled to
              vote to accept or reject the Plan. Each holder of an allowed Class 9 claim shall
              retain any lien encumbering real property of the Debtor in Possession.


       2.10   Class 10. First Mortgage of Regions Bank on 8375 Pineverde Lane, 8381
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Pineverde Lane, 8387 Pineverde Lane, Jacksonville, FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8375
               Pineverde Lane, 8381 Pineverde Lane, 8387 Pineverde Lane, Jacksonville, FL
               32244 by virtue of a first mortgage recorded in the Public Records of Duval
               County, Florida. The Debtor will make a one-time, lump-sum payment to Regions
               Bank in the amount of $2,250.00 ($750.00 per property) on the Effective Date of
               the Plan. The Debtor will pay the fair market value of the properties of
               $150,595.00 as a crammed down first mortgage, together with interest at the rate
               of 4.5%, in equal monthly installments over a period of 360 months beginning
               December 1, 2017. The Debtor in Possession and mortgage holder shall execute
               whatever documents are necessary to effect the modification of the foregoing loan
               in the Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                      The P & I payment for this class shall be $763.04 with the taxes and
               insurance to be paid as calculated by the claimholder.
                      Class 10 is impaired by the Plan. The holder of a Class 10 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 10 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
       2.11    Class 11. First Mortgage of Regions Bank on 8384 Pineverde Lane, Jacksonville,
FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8384
               Pineverde Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded in
               the Public Records of Duval County, Florida. The Debtor will make a one-time,
               lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
               Date of the Plan. The Debtor will pay the fair market value of the property of
               $49,445.00 as a crammed down first mortgage, together with interest at the rate of
               4.5%, in equal monthly installments over a period of 360 months beginning
               December 1, 2017. The Debtor in Possession and mortgage holder shall execute
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               whatever documents are necessary to effect the modification of the foregoing loan
               in the Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                      The P & I payment for this class shall be $250.53 with the taxes and
               insurance to be paid as calculated by the claimholder.
                      Class 11 is impaired by the Plan. The holder of a Class 11 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 11 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
      2.12     Class 12. First Mortgage of Regions Bank on 8419 Pineverde Lane, Jacksonville,
FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8419
               Pineverde Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded in
               the Public Records of Duval County, Florida. The Debtor will make a one-time,
               lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
               Date of the Plan. The Debtor will pay the fair market value of the property of
               $42,500.00 as a crammed down first mortgage, together with interest at the rate of
               4.5%, in equal monthly installments over a period of 360 months beginning
               December 1, 2017. The Debtor in Possession and mortgage holder shall execute
               whatever documents are necessary to effect the modification of the foregoing loan
               in the Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                      The P & I payment for this class shall be $215.34 with the taxes and
               insurance to be paid as calculated by the claimholder.
                      Class 12 is impaired by the Plan. The holder of a Class 12 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 12 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
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      2.13     Class 13. First Mortgage of Regions Bank on 8427 Pineverde Lane, Jacksonville,
FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8427
               Pineverde Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded in
               the Public Records of Duval County, Florida. The Debtor will make a one-time,
               lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
               Date of the Plan. The Debtor will pay the fair market value of the property of
               $51,950.00 as a crammed down first mortgage, together with interest at the rate of
               4.5%, in equal monthly installments over a period of 360 months beginning
               December 1, 2017. The Debtor in Possession and mortgage holder shall execute
               whatever documents are necessary to effect the modification of the foregoing loan
               in the Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                      The P & I payment for this class shall be $263.22 with the taxes and
               insurance to be paid as calculated by the claimholder.
                      Class 13 is impaired by the Plan. The holder of a Class 13 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 13 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
      2.14     Class 14. First Mortgage of Regions Bank on 8467 Pineverde Lane, Jacksonville,
FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8467
               Pineverde Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded in
               the Public Records of Duval County, Florida. The Debtor will make a one-time,
               lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
               Date of the Plan. The Debtor will pay the fair market value of the property of
               $41,000.00 as a crammed down first mortgage, together with interest at the rate of
               4.5%, in equal monthly installments over a period of 360 months beginning
               December 1, 2017. The Debtor in Possession and mortgage holder shall execute
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               whatever documents are necessary to effect the modification of the foregoing loan
               in the Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                      The P & I payment for this class shall be $207.74 with the taxes and
               insurance to be paid as calculated by the claimholder.
                      Class 14 is impaired by the Plan. The holder of a Class 14 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 14 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
      2.15     Class 15. First Mortgage of Regions Bank on 8515 Pineverde Lane, Jacksonville,
FL 32244.
                      This Class consists of the secured claim of Regions Bank on 8515
               Pineverde Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded in
               the Public Records of Duval County, Florida. The Debtor will make a one-time,
               lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
               Date of the Plan. The Debtor will pay the fair market value of the property of
               $50,250.00 as a crammed down first mortgage, together with interest at the rate of
               4.5%, in equal monthly installments over a period of 360 months beginning
               December 1, 2017. The Debtor in Possession and mortgage holder shall execute
               whatever documents are necessary to effect the modification of the foregoing loan
               in the Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                      The P & I payment for this class shall be $254.61 with the taxes and
               insurance to be paid as calculated by the claimholder.
                      Class 15 is impaired by the Plan. The holder of a Class 15 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 15 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
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       2.16   Class 16. First Mortgage of Regions Bank on 8572 Pineverde Lane, Jacksonville,
FL 32244.
                     This Class consists of the secured claim of Regions Bank on 8572
              Pineverde Lane, Jacksonville, FL 32244 by virtue of a first mortgage recorded in
              the Public Records of Duval County, Florida. The Debtor will make a one-time,
              lump-sum payment to Regions Bank in the amount of $750.00 on the Effective
              Date of the Plan. The Debtor will pay the fair market value of the property of
              $51,000.00 as a crammed down first mortgage, together with interest at the rate of
              4.5%, in equal monthly installments over a period of 360 months beginning
              December 1, 2017. The Debtor in Possession and mortgage holder shall execute
              whatever documents are necessary to effect the modification of the foregoing loan
              in the Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $258.41 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 16 is impaired by the Plan. The holder of a Class 16 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 16 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.17   Class 17. First Mortgage of GKC Finance, LLC on 10648 Coleman Road S.,
Jacksonville, FL 32257.
                     This Class consists of the secured claim of GKC Finance, LLC on 10648
              Coleman Road S., Jacksonville, FL 32257 by virtue of a first mortgage recorded
              in the Public Records of Duval County, Florida. The Debtor will pay the fair
              market value of the property of $56,250.00 as a crammed down first mortgage,
              together with interest at the rate of 4.00%, in equal monthly installments over a
              period of 360 months from the effective date of this Plan or the date that the Court
              orders Adequate Protection to the Creditor, whichever is earlier. The Debtor in
              Possession and mortgage holder shall execute whatever documents are necessary
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              to effect the modification of the foregoing loan in the Public Records of Duval
              County, Florida. To the extent that the foregoing mortgage secures an escrowed
              loan, then the escrow portion of the payment shall be added to the
              principal/interest amount and calculated in any new payments to be maintained
              under this Chapter 11 Plan.
                     The P & I payment for this class shall be $268.55 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 17 is impaired by the Plan. The holder of a Class 17 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 17 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.18   Class 18. First Mortgage of GKC Finance, LLC on 4433 Winderbrook Court,
Jacksonville, FL 32257.
                     This Class consists of the secured claim of GKC Finance, LLC on 4433
              Winderbrook Court, Jacksonville, FL 32257 by virtue of a first mortgage recorded
              in the Public Records of Duval County, Florida. The Debtor will pay the fair
              market value of the property of $56,250.00 as a crammed down first mortgage,
              together with interest at the rate of 4.00%, in equal monthly installments over a
              period of 360 months from the effective date of this Plan or the date that the Court
              orders Adequate Protection to the Creditor, whichever is earlier. The Debtor in
              Possession and mortgage holder shall execute whatever documents are necessary
              to effect the modification of the foregoing loan in the Public Records of Duval
              County, Florida. To the extent that the foregoing mortgage secures an escrowed
              loan, then the escrow portion of the payment shall be added to the
              principal/interest amount and calculated in any new payments to be maintained
              under this Chapter 11 Plan.
                     The P & I payment for this class shall be $268.55 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 18 is impaired by the Plan. The holder of a Class 18 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 18 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
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       2.19   Class 19. First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5518 Bennington Drive, Jacksonville, FL32244.
                     This Class consists of the secured claim of Federal National Mortgage
              Association c/o Seterus, Inc. on 5518 Bennington Drive, Jacksonville, FL32244
              by virtue of a first mortgage recorded in the Public Records of Duval County,
              Florida. The Debtor will pay the fair market value of the property of $37,750.00
              as a crammed down first mortgage, together with interest at the rate of 4.00%, in
              equal monthly installments over a period of 360 months from the effective date of
              this Plan or the date that the Court orders Adequate Protection to the Creditor,
              whichever is earlier. The Debtor in Possession and mortgage holder shall execute
              whatever documents are necessary to effect the modification of the foregoing loan
              in the Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $180.22 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 19 is impaired by the Plan. The holder of a Class 19 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 19 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.20   Class 20. First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5862 Liska Drive, Jacksonville, FL32244.
                     This Class consists of the secured claim of Federal National Mortgage
              Association c/o Seterus, Inc. on 5862 Liska Drive, Jacksonville, FL32244 by
              virtue of a first mortgage recorded in the Public Records of Duval County,
              Florida. The Debtor will pay the fair market value of the property of $44,500.00
              as a crammed down first mortgage, together with interest at the rate of 4.00%, in
              equal monthly installments over a period of 360 months from the effective date of
              this Plan or the date that the Court orders Adequate Protection to the Creditor,
              whichever is earlier. The Debtor in Possession and mortgage holder shall execute
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              whatever documents are necessary to effect the modification of the foregoing loan
              in the Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $212.45 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 20 is impaired by the Plan. The holder of a Class 20 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 20 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.21   Class 21. First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5648 Bryner Drive, Jacksonville, FL32244.
                     This Class consists of the secured claim of Federal National Mortgage
              Association c/o Seterus, Inc. on 5648 Bryner Drive, Jacksonville, FL32244 by
              virtue of a first mortgage recorded in the Public Records of Duval County,
              Florida. The Debtor will pay the fair market value of the property of $35,000.00
              as a crammed down first mortgage, together with interest at the rate of 4.00%, in
              equal monthly installments over a period of 360 months from the effective date of
              this Plan or the date that the Court orders Adequate Protection to the Creditor,
              whichever is earlier. The Debtor in Possession and mortgage holder shall execute
              whatever documents are necessary to effect the modification of the foregoing loan
              in the Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $167.10 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 21 is impaired by the Plan. The holder of a Class 21 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 21 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
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       2.22   Class 22. First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5871 Liska Drive, Jacksonville, FL32244.
                     This Class consists of the secured claim of Federal National Mortgage
              Association c/o Seterus, Inc. on 5871 Liska Drive, Jacksonville, FL32244 by
              virtue of a first mortgage recorded in the Public Records of Duval County,
              Florida. The Debtor will pay the fair market value of the property of $41,500.00
              as a crammed down first mortgage, together with interest at the rate of 4.00%, in
              equal monthly installments over a period of 360 months from the effective date of
              this Plan or the date that the Court orders Adequate Protection to the Creditor,
              whichever is earlier. The Debtor in Possession and mortgage holder shall execute
              whatever documents are necessary to effect the modification of the foregoing loan
              in the Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $198.13 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 22 is impaired by the Plan. The holder of a Class 22 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 22 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.23   Class 23. First Mortgage of Carrington Mortgage Services, LLC on 5844 Liska
Drive, Jacksonville, FL 32244.
                     This Class consists of the secured claim of Carrington Mortgage Services,
              LLC on 5844 Liska Drive, Jacksonville, FL 32244 by virtue of a first mortgage
              recorded in the Public Records of Duval County, Florida. The Debtor will pay the
              fair market value of the property of $43,000.00 as a crammed down first
              mortgage, together with interest at the rate of 4.00%, in equal monthly
              installments over a period of 360 months from the effective date of this Plan or
              the date that the Court orders Adequate Protection to the Creditor, whichever is
              earlier. The Debtor in Possession and mortgage holder shall execute whatever
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              documents are necessary to effect the modification of the foregoing loan in the
              Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $205.29 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 23 is impaired by the Plan. The holder of a Class 23 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 23 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
       2.24   Class 24. First Mortgage of Bayview Loan Servicing, LLC on 7615 Melissa
Court N., Jacksonville, FL 32210.
                     This Class consists of the secured claim of Bayview Loan Servicing, LLC
              on 7615 Melissa Court N., Jacksonville, FL 32210 by virtue of a first mortgage
              recorded in the Public Records of Duval County, Florida. The Debtor will pay the
              fair market value of the property of $36,000.00 as a crammed down first
              mortgage, together with interest at the rate of 4.00%, in equal monthly
              installments over a period of 360 months from the effective date of this Plan or
              the date that the Court orders Adequate Protection to the Creditor, whichever is
              earlier. The Debtor in Possession and mortgage holder shall execute whatever
              documents are necessary to effect the modification of the foregoing loan in the
              Public Records of Duval County, Florida. To the extent that the foregoing
              mortgage secures an escrowed loan, then the escrow portion of the payment shall
              be added to the principal/interest amount and calculated in any new payments to
              be maintained under this Chapter 11 Plan.
                     The P & I payment for this class shall be $171.87 with the taxes and
              insurance to be paid as calculated by the claimholder.
                     Class 24 is impaired by the Plan. The holder of a Class 24 claim is entitled
              to vote to accept or reject the Plan. Each holder of an allowed Class 24 claim shall
              retain any lien encumbering real property of the Debtor in Possession.
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       2.25    Class 25. First Mortgage of Bayview Loan Servicing, LLC on 5846 Liska Drive,
Jacksonville, FL 32244.
                       This Class consists of the secured claim of Bayview Loan Servicing, LLC
               on 5846 Liska Drive, Jacksonville, FL 32244 by virtue of a first mortgage
               recorded in the Public Records of Duval County, Florida. The Debtor will pay the
               fair market value of the property of $45,500.00 as a crammed down first
               mortgage, together with interest at the rate of 4.00%, in equal monthly
               installments over a period of 360 months from the effective date of this Plan or
               the date that the Court orders Adequate Protection to the Creditor, whichever is
               earlier. The Debtor in Possession and mortgage holder shall execute whatever
               documents are necessary to effect the modification of the foregoing loan in the
               Public Records of Duval County, Florida. To the extent that the foregoing
               mortgage secures an escrowed loan, then the escrow portion of the payment shall
               be added to the principal/interest amount and calculated in any new payments to
               be maintained under this Chapter 11 Plan.
                       The P & I payment for this class shall be $217.22 with the taxes and
               insurance to be paid as calculated by the claimholder.
                       Class 25 is impaired by the Plan. The holder of a Class 25 claim is entitled
               to vote to accept or reject the Plan. Each holder of an allowed Class 25 claim shall
               retain any lien encumbering real property of the Debtor in Possession.
       2.26    Class 26. Secured lien of Wilson Cline on 2002 Ford Mustang.
                       This Class consists of the secured claim of Wilson Cline on 2002 Ford
               Mustang by virtue of a purchase money security interest recorded on the title of
               the Debtor’s 2002 Ford Mustang. The Debtor shall continue to pay this creditor
               per the terms of the loan.
Class 26 is unimpaired by the Plan. The holder of a Class 26 claim is not entitled to vote to
accept or reject the Plan.
       2.27    Class 27. Statutory lien of Heather Ridge Homeowners’ Association on 7103
Prestwick Circle N., Jacksonville, FL 32244.
                       This Class consists of the secured claim of Heather Ridge Homeowners’
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                Association on 7103 Prestwick Circle N., Jacksonville, FL 32244 by virtue of a
                statutory lien for delinquent association dues. The Debtor surrenders the holder’s
                interest in the collateral in full satisfaction of any claim filed by the claimholder.
Class 27 is unimpaired by the Plan. The holder of a Class 27 claim is not entitled to vote to
accept or reject the Plan.
        2.28    Class 28. Statutory lien of Metropolitan Mixed Use Condo Owners’ Association
on 320 N. 1st Street, Unit 801, Atlantic Beach, FL 32233.
                        This Class consists of the secured claim of Metropolitan Mixed Use
                Condo Owners’ Association on 320 N. 1st Street, Unit 801, Atlantic Beach, FL
                32233 by virtue of a statutory lien for unpaid association dues. The Debtor
                surrenders the holder’s interest in the collateral in full satisfaction of any claim
                filed by the claimholder.
Class 28 is unimpaired by the Plan. The holder of a Class 28 claim is not entitled to vote to
accept or reject the Plan.
        2.29    Class 29. Real Property Tax Claim of Duval County Tax Collector (Claim 8) on
320 N. 1st Street, Unit 801, Atlantic Beach, FL 32233.
                        This Class consists of the secured claim of the Duval County Tax
                Collector on 320 N. 1st Street, Unit 801, Atlantic Beach, FL 32233 by virtue of a
                statutory lien for unpaid property taxes. The Debtor surrenders the holder’s
                interest in the collateral in full satisfaction of any claim filed by the claimholder.
Class 29 is unimpaired by the Plan. The holder of a Class 2 claim is not entitled to vote to accept
or reject the Plan.

                                   ARTICLE III
                TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                 U.S. TRUSTEE'S FEES, AND PRIORITY TAX CLAIMS


        3.01    Unclassified Claims. Under section §1123(a)(1), administrative expense claims,
and priority tax claims are not in classes.
        3.02    Administrative Expense Claims. Each holder of an administrative expense claim
allowed under § 503 of the Code will be paid in full on the effective date of this Plan (as defined
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in Article VII), in cash, or upon such other terms as may be agreed upon by the holder of the
claim and the Debtor.
         3.03   Priority Tax Claims. Each holder of a priority tax claim will be paid in full by the
effective date of the plan by the Debtor-in-Possession in accordance with 11 U.S.C. § 1129(a)(9).
         3.04   United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)
(U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or
converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective
date of this Plan will be paid on the effective date.
                               ARTICLE IV
             TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN


         4.01   Claims and interests shall be treated as follows under this Plan:
         Class Impairment Treatment
         Class 1 - Priority Tax Claims.
         Unimpaired – The Debtor does not expect any priority claims outside of Attorney Fees
and Trustee Fees. The Internal Revenue Service has filed an amended claim with a value of
$0.00.
         Class 2 – First mortgage of Regions Bank on 320 N. 1st Street, Unit 801, Atlantic
Beach, FL 32233.
         Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
         Class 3 – First mortgage of Regions Bank on 8448 Boysenberry Lane, Jacksonville,
FL 32244.
         Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
         Class 4 – First mortgage of Regions Bank on 7103 Prestwick Circle N., Jacksonville,
FL 32244.
         Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
         Class 5 – First mortgage of Regions Bank on 2273 Ironstone Drive E., Jacksonville,
FL 32246.
         Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
         Class 6 – First mortgage of Regions Bank on 3052 Cobblewood Ln. W., Jacksonville,
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FL 32246.
         Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
         Class 7 – First mortgage of Regions Bank on 10824 Happy Vale Road, Jacksonville,
FL 32246.
         Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
         Class 8 – First mortgage of Regions Bank on 757 Century 21 Drive, Jacksonville, FL
32216.
         Impaired – to be crammed down to the fair market value of $48,873.97 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.
         Class 9 – First mortgage of Regions Bank on 8360 Pineverde Lane, 8366 Pineverde
Lane, 8372 Pineverde Lane, Jacksonville, FL 32244.
         Impaired – to be crammed down to the fair market value of $142,024.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of
$2,250.00 ($750.00 per property) on the Effective Date of the Plan.
         Class 10 – First Mortgage of Regions Bank on 8375 Pineverde Lane, 8381 Pineverde
Lane, 8387 Pineverde Lane, Jacksonville, FL 32244.
         Impaired – to be crammed down to the fair market value of $150,595.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of
$2,250.00 ($750.00 per property) on the Effective Date of the Plan.
         Class 11 – First Mortgage of Regions Bank on 8384 Pineverde Lane, Jacksonville,
FL 32244.
         Impaired – to be crammed down to the fair market value of $49,445.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.


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       Class 12 – First Mortgage of Regions Bank on 8419 Pineverde Lane, Jacksonville,
FL 32244.
       Impaired – to be crammed down to the fair market value of $42,500.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.
       Class 13 – First Mortgage of Regions Bank on 8427 Pineverde Lane, Jacksonville,
FL 32244.
       Impaired – to be crammed down to the fair market value of $51,950.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.
       Class 14 – First Mortgage of Regions Bank on 8467 Pineverde Lane, Jacksonville,
FL 32244.
       Impaired – to be crammed down to the fair market value of $41,000.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.
       Class 15 – First Mortgage of Regions Bank on 8515 Pineverde Lane, Jacksonville,
FL 32244.
       Impaired – to be crammed down to the fair market value of $50,250.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.
       Class 16 – First Mortgage of Regions Bank on 8572 Pineverde Lane, Jacksonville,
FL 32244.
       Impaired – to be crammed down to the fair market value of $51,000.00 together with
interest at the rate of 4.5%, in equal monthly installments over a period of 360 months. The
Debtor will also make a one-time, lump-sum payment to Regions Bank in the amount of $750.00
on the Effective Date of the Plan.
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       Class 17 – First Mortgage of GKC Finance, LLC on 10648 Coleman Road S.,
Jacksonville, FL 32257.
       Impaired – to be crammed down to the fair market value of $56,250.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 18 – First Mortgage of GKC Finance, LLC on 4433 Winderbrook Court,
Jacksonville, FL 32257.
       Impaired – to be crammed down to the fair market value of $56,250.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 19 – First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5518 Bennington Drive, Jacksonville, FL32244.
       Impaired – to be crammed down to the fair market value of $37,750.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 20 – First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5862 Liska Drive, Jacksonville, FL32244.
       Impaired – to be crammed down to the fair market value of $44,500.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 21 – First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5648 Bryner Drive, Jacksonville, FL32244.
       Impaired – to be crammed down to the fair market value of $35,000.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 22 – First Mortgage of Federal National Mortgage Association c/o Seterus,
Inc. on 5871 Liska Drive, Jacksonville, FL32244.
       Impaired – to be crammed down to the fair market value of $41,500.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 23 – First Mortgage of Carrington Mortgage Services, LLC on 5844 Liska
Drive, Jacksonville, FL32244.
       Impaired – to be crammed down to the fair market value of $43,000.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.



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       Class 24 – First Mortgage of Bayview Loan Servicing, LLC on 7615 Melissa Court
N., Jacksonville, FL 32210.
       Impaired – to be crammed down to the fair market value of $36,000.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 25 – First Mortgage of Bayview Loan Servicing, LLC on 5846 Liska Drive,
Jacksonville,FL 32244.
       Impaired – to be crammed down to the fair market value of $45,500.00 together with
interest at the rate of 4.00%, in equal monthly installments over a period of 360 months.
       Class 26 – Purchase Money Security Interest of Wilson Cline on 2002 Ford
Mustang.
       Unimpaired – to be per contract terms.
       Class 27 – Statutory Lien of Heather Ridge Homeowners’ Association on 7103
Prestwick Circle N., Jacksonville, FL 32244.
       Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
       Class 28 – Statutory Lien of Metropolitan Mixed Use Condo Owners’ Association
on 320 N. 1st Street, Unit 801, Atlantic Beach, FL 32233.
       Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
       Class 29 – Real Property Tax Claim of Duval County Tax Collector on 320 N. 1st
Street, Unit 801, Atlantic Beach, FL 32233.
       Unimpaired – to be surrendered in full satisfaction of any claim filed by the claimholder.
                                 ARTICLE V
                    ALLOWANCE AND DISALLOWANCE OF CLAIMS


       5.01    Disputed Claim. A disputed claim is a claim that has not been allowed or
disallowed by a final non-appealable order, and as to which either: (i) a proof of claim has been
filed or deemed filed, and the Debtors or another party in interest has filed an objection; or (ii) no
proof of claim has been filed, and the Debtors have scheduled such claim as disputed, contingent,
or unliquidated.
       5.02    Delay of Distribution on a Disputed Claim. No distribution will be made on
account of a disputed claim unless such claim is allowed by a final non-appealable order.
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       5.03    Settlement of Disputed Claims. The Debtors will have the power and authority to
settle and compromise a disputed claim with court approval and compliance with Rule 9019 of
the Federal Rules of Bankruptcy Procedure.


                            ARTICLE VI
     PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES


       6.01    Assumed Executory Contracts and Unexpired Leases.
               (a) The Debtor assumes the following executory contracts and/or unexpired leases
       effective upon the date of the entry of the order confirming this Plan:
               1. Leases between Debtor and all tenants currently renting properties on the
       confirmation date.
               2. Property Management contracts between the Debtor and Duval Realty, Inc.
               (b) The Debtor will be conclusively deemed to have rejected all executory
       contracts and/or unexpired leases not expressly assumed under section 6.01(a) above, or
       before the date of the order confirming this Plan, upon the date of the entry of the order
       confirming this Plan. A proof of a claim arising from the rejection of an executor contract
       or unexpired lease under this section must be filed no later than thirty (30) days after the
       date of the order confirming this Plan.


                                       ARTICLE VII
                                   GENERAL PROVISIONS


       7.01    Definitions and Rules of Construction. The definitions and rules of construction
set forth in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code
are used in this Plan, and they are supplemented by the following definitions: N/A


       7.02     Effective Date of Plan. The effective date of this Plan is the eleventh business day
following the date of the entry of the order of confirmation. But if a stay of the confirmation
order is in effect on that date, the effective date will be the first business day after that date on

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which no stay of the confirmation order is in effect, provided that the confirmation order has not
been vacated.
          7.03   Severability. If any provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provision of this Plan.
          7.04   Binding Effect. The rights and obligations of any entity named or referred to in
this Plan will be binding upon, and will inure to the benefit of the successors or assigns of such
entity.
          7.05   Captions. The headings contained in this Plan are for convenience of reference
only and do not affect the meaning or interpretation of this Plan.
          7.06   Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of
Florida govern this Plan and any agreements, documents, and instruments executed in connection
with this Plan, except as otherwise provided in this Plan.


                                          ARTICLE VIII
                                          DISCHARGE


          8.01   Discharge. Confirmation of this Plan does not discharge any debt provided for in
this Plan until the court grants a discharge on completion of all payments under this Plan, or as
otherwise provided in § 1141(d)(5) of the Code. The Debtor will not be discharged from any debt
excepted from discharge under § 523 of the Code, except as provided in Rule 4007(c) of the
Federal Rules of Bankruptcy Procedure.
          8.02   The Court may, however, upon a Motion and hearing, at its discretion
administratively close the case without the entry of a discharge, until the plan payments have
been made. Upon completion of all payments under the Plan or as otherwise available to the
Debtors under Section 1141(d)(5)(B) of the Bankruptcy Code, the Debtors intend to file a Motion
to Reopen the Case for the limited purpose of obtaining a Discharge.
          8.03   The Debtor is not entitled to a discharge in this case as he has previously received
a discharge in his Chapter 7 case. To the extent that the case is dismissed, then the creditors’
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liens shall be restored to their pre-petition status and amount, with credit for any post-petition
payments received (as applied under the pre-petition contractual status).
                                          ARTICLE IX
                                       OTHER PROVISIONS


        9.01    Payments. Payments to the various Classes under this Plan shall commence
twenty (20) days after the date that the Plan becomes final and non-appealable unless otherwise
specifically stated with respect to treatment of each particular class.
        9.02    Pursuant to 11 U.S.C. § 1141(b), confirmation of this plan does not vest property
of the estate, as defined by 11 U.S.C. § 1115, in the Debtors until discharge of the case.
        9.03    This Plan contemplates payments to mortgage holders and/or servicers from
property of the estate. Such payments may differ from the original contractual obligation of the
Debtor pursuant to the mortgage contracts. To the extent that such plan payments are not applied
to any modified mortgage account as contemplated by the Plan, the Bankruptcy Court shall retain
jurisdiction to enforce the terms of the Plan after confirmation.


                                                /s/ Carl W. Cline*
                                                ________________________
                                                CARL W. CLINE

                                                MCCONNELL LAW GROUP, P.A.

                                                /s/ Jerrett M. McConnell
                                                ____________________________
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* Original document with signature affixed on file with attorney.

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